Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 1 of 10 Page ID #:498




   1 NYE, PEABODY, STIRLING, HALE
       & MILLER, LLP
   2 Jonathan D. Miller (CA 220848)
       Alison M. Bernal (CA 264629)
   3 Jonathan@nps-law.com

   4 33 West Mission St., Suite 201
       Telephone: (805) 963-2345
   5
       Facsimile: (805) 563-5385
   6
       CARLSON LYNCH SWEET
   7   KILPELA & CARPENTER, LLP
       Todd D. Carpenter (CA 234464)
   8   tcarpenter@carlsonlynch.com
       1350 Columbia Street, Ste. 603
   9
       Telephone: (619) 762-1900
  10   Facsimile: (619) 756-6991
  11
     Attorneys for Plaintiffs and the Class
  12 [Additional Counsel Listed on Signature Page]

  13
                            UNITED STATES DISTRICT COURT
  14
                           CENTRAL DISTRICT OF CALIFORNIA
  15

  16   MEGAN SCHMITT, DEANA                      Case No. 8:17-cv-01397-JVS-JDE
       REILLY, CAROL ORLOWSKY, and
  17   STEPHANIE MILLER BRUN,                    PLAINTIFFS’ EX PARTE
       individually and on behalf of             APPLICATION TO STAY THE CASE
  18   themselves and all others similarly       AND MOTION FOR DISCOVERY
       situated,                                 SANCTIONS
  19
                   Plaintiffs,                   Filed Concurrently With
  20                                             [Proposed] Order and
             v.                                  Declaration of Adam Gonnelli
  21
       YOUNIQUE, LLC,
  22
                   Defendant.
  23
                                                 Complaint Filed: 8/17/17
  24                                             Trial Date: 2/19/19
  25

  26

  27

  28                                          -1-
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                             SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 2 of 10 Page ID #:499




   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2

   3
          I.       INTRODUCTION

   4            Plaintiffs in the above-captioned action request that this Court grant a stay of
   5
       the proceedings in this case and that the Court grant sanctions under Federal Rule of
   6

   7 Civil Procedure 37 against Younique and/or their counsel of record, Sheppard

   8 Mullin Richter and Hampton LLP for its refusal to proffer 30(b)(6) witnesses who
   9
       were prepared to testify regarding the topics for which they had been designated.
  10

  11            Defendant’s failure to designate and make available for deposition

  12 appropriate 30(b)(6) witnesses is just the latest in a long line of discovery violations

  13
       which have delayed the progress of this case and have given rise to discovery
  14

  15 motions now pending before Your Honor and Magistrate Judge Early.

  16      II.      DEFENDANT HAS FAILED TO PRODUCE ADEQUATE 30(b)(6)
  17               WITNESSES
  18            On June 4, 2018 Plaintiffs served a Rule 30(b)(6) Notice of Deposition. The
  19
       notice listed seven topics: 1) the existence and location of the documents requested
  20

  21 in Plaintiffs’ Request for Production of Documents; 2) the ingredients used in the

  22 product; 3) the labeling and packaging of the product; 4) the channels of distribution

  23
       for the product; 5) the price of the product during the relevant time period; 6) sales
  24

  25 of the product during the relevant time period; and 7) training of and materials

  26 provided to presenters. (See Plaintiffs’ Notice of 30(b)(6) Deposition annexed as

  27
       Exhibit 1 to the Declaration of Adam Gonnelli (“Gonnelli Decl.”).
  28                                               -2-
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                            SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 3 of 10 Page ID #:500




   1
              Defendant submitted their objections to the Rule 30(b)(6) Notice on July 13,

   2 2018 (See Defendant’s Objections to Plaintiff’s Notice of 30(b)(6) Deposition,

   3
       Gonnelli Decl. Ex. 2). On July 26, 2018, the day before the depositions were held,
   4

   5 Defendant identified the designated two witnesses for these topics: Robert Phillips

   6 for topics 1, 5, and 6, and Vrena Ranallo for topics 2, 3, 4, and 7. (See Gonnelli

   7
       Decl. ¶ 7).
   8
   9          Plaintiffs have “the right to a 30(b)(6) witness prepared to speak to at least the

  10 vast majority of questions posed on noticed topics.” Avago Techs., Inc. v. IPtronics

  11
       Inc., No. 5:10-cv-02863-EJD 2015 U.S. Dist. LEXIS 66177 * 14 (N.D. Cal. May 19,
  12

  13 2015). Defendant’s 30(b)(6) designees could not even respond to a small minority

  14 of the questions posed to them.

  15
              With respect to Topic 1, the existence and location of the documents that
  16

  17 Plaintiffs had requested in their document requests, Mr. Phillips was unable to

  18 testify on any documents with the exception of the limited sales spreadsheets 1 that

  19
       he himself compiled. ((See Rough Draft of the July 27, 2018 Transcript of Robert
  20

  21 Philips (“Phillips Tr.”), Gonneli Decl. Ex. 3 at 13:10-14)).

  22          Q. Do you have an understanding as to the topics upon which you're gonna be
  23
              testifying today?
  24

  25          A. Yes.
  26
              1
  27         Plaintiffs believe that the limitations on the spreadsheets themselves are improper and
     submitted this issue to Magistrate Judge Early.
  28                                                  -3-
            PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                             SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 4 of 10 Page ID #:501




   1
             Q. And what is your understanding?

   2         A. That I'd be testifying in regards to Fiberlash unit sales in four states.
   3
             Q. Anything else?
   4

   5         A. No. Just the material that I prepared which was the unit Fiberlash sales and

   6         estimated retail pricing.
   7
       Id. at p. 7:2-10. See also Tr. at 10:4-9 (counsel confirms Younique will not produce
   8
   9 witness to testify on documents).

  10         With respect to Topic 2, the ingredients of the product, Ms. Ranallo did not
  11
       know what the ingredients were, or whether the ingredient list given to her by
  12

  13 Younique’s counsel was correct. ((See Rough Draft of the July 27, 2018 Transcript

  14 of Vrena Ranallo (“Ranallo Tr.”) Gonnelli Decl. Ex. 4 at p. 38:16—39:7, 44:16-

  15
       19)). Ms. Ranallo had no basis for her assertion that the fibers in the product were
  16

  17 composed of green tea (the composition of the fibers in the product is the gravamen

  18 of Plaintiffs’ claims) other than the documents given to her by her counsel prior to

  19
       the deposition. Id. She had not reviewed testing of the product fibers, nor had she
  20

  21 had not spoken to anyone who was involved in determining the composition of the

  22 product. Id. Ms. Ranallo was unaware of who made the fibers for the product (Id.

  23
       at 41:16-22), if Younique had ever tried to use hemp fibers in the product (Id. at
  24

  25 52:23-53:1), what ingredients Younique’s suppliers use to create the fiber lashes (Id.

  26 at 54:2-11), or whether or not the formula for the product had changed over time (Id.

  27
       at 55:25-56:2). Following a review of some
                                               -4-
                                                   of the documents in her binder:
  28
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                            SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 5 of 10 Page ID #:502




   1
             Q: So you really don’t know what was in the fibers?

   2         A: I do not.
   3
       Id. at 45:11-12.
   4

   5         Regarding Topic 3, the labeling and packaging of the Product, Ms. Ranallo

   6 was unable to provide responses to questions regarding whether and when certain

   7
       labels and inserts were used on the product (Ranallo Tr. at 18:12-14, 24:3-26:22,
   8
   9 41:12-15):

  10          Q. Do you know when this particular label was in use?
  11
             A. I do not.
  12

  13         Q. Do you know if this was the first label used for the Younique 3D

  14         Fiberlashes?
  15
             A. I do not know if it was the first.
  16

  17         Q. Do you know who would know?
  18         A. I do not.
  19
             Q. Do you know who designed this label?
  20

  21         A. I do not.
  22          Q. Do you know who wrote any part of this label?
  23
             A. I do not.
  24

  25         Q. So do you know anything about this label?
  26         A. I know that it's on the -- it was on the packaging of Moodstruck 3D
  27
             Fiberlashes.                        -5-
  28
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                            SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 6 of 10 Page ID #:503




   1
             Q. But I believe you said you don't know what time frame.

   2         A. That's correct. Q. Okay. Is there anything else you can tell us about this
   3
             label?
   4

   5         A. No, there is not.

   6 Id. 9:3-22.

   7
             With respect to Topic 4, the channels of distribution for the Product, Ms.
   8
   9 Ranallo was unable to identify when the product was sold (Ranallo Tr. at 17:22-23).

  10 She was also unable to testify, based on the product barcode, where the product was

  11
       sold, or when it was shipped or manufactured. (Id. at 21:11-18).
  12

  13         Regarding Topic 5, pricing of the product, Mr. Phillips could not answer

  14 questions regarding who determined the retail price of the product at issue, (Phillips

  15
       Tr. p.22:14-15), how the price was set (Id. at 22:21-23), the cost of goods sold for
  16

  17 the product (Id at. 26:14-16), or the cost of producing the product (Id at 30).

  18         With respect to Topic 6, the sales of the product, Mr. Phillips was unable to
  19
       testify about the gross margin for the product (Phillips Tr. p. 23, 25:25-26:3) and
  20

  21 whether or not the product was profitable for Younique. (Id. at 31:2-7).

  22         Plaintiffs request a stay of the case until such time as Defendant produces
  23
       witnesses who are knowledgeable and prepared to testify regarding these topics.
  24

  25         There is good cause to grant a stay of the proceedings in this case because the
  26 questions which Younique’s 30(b)(6) witnesses would not or could not answer are

  27
       important to Plaintiffs’ case, pertinent to -6-
                                                   class certification and will likely be the
  28
            PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                             SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 7 of 10 Page ID #:504




   1
       subject of expert testimony. Moreover, Younique’s refusal to produce

   2 knowledgeable and prepared 30(b)(6) witnesses for deposition (part of a persistent

   3
       and ongoing refusal to provide requested discovery to which Plaintiffs are entitled)
   4

   5 warrants sanctions under Rule 37.

   6

   7 II.     DEFENDANT’S CONDUCT REQUIRES SANCTIONS
   8         UNDER FRCP 37

   9         A court may impose sanctions for discovery violations through Rule 37.
  10
       Grimes v. City and County of San Francisco, 951 F.2d 236, 241 (9th Cir. 1991).
  11

  12 Rule 37 sanctions are mandatory and must be applied diligently both to penalize

  13 those whose conduct may be deemed to warrant such a sanction, [and] to deter those

  14
       who might be tempted to such conduct in the absence of such a deterrent." Wingnut
  15

  16 Films, Ltd. v. Katja Motion Pictures Corp., No. 05-cv-1516-RSWL, 2007 U.S. Dist.

  17 LEXIS 72953, at *54 (C.D. Cal. Sept. 18, 2007. "The burden is on the disclosing

  18
       party to show that the failure to disclose information or witnesses was justified or
  19

  20 harmless." FormFactor, Inc. v. Micro-Probe, Inc., Case No. 4:10-cv-3095-PJH,

  21 2012 U.S. Dist. LEXIS 62233, at *26 (N.D. Cal. May 3, 2012) (citing Yeti by Molly,

  22
       Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1107 (9th Cir. 2001)). Willfulness,
  23

  24 bad faith, or fault of the party including disobedient conduct not shown to be outside

  25 the litigant’s control also prevent findings of substantial justification. Tacori

  26
       Enters., Inc. v. Beverlly Jewellry Co., Ltd., 253 F.R.D. 577, 582 (C.D. Cal. 2008)
  27

  28                                             -7-
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                            SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 8 of 10 Page ID #:505




   1
       (citations omitted).

   2         Further, under Rule 37(d)(1)(A)(i), sanctions are available when the failure to
   3
       produce an adequately prepared witness pursuant to Rule 30(b)(6) is tantamount to a
   4

   5 failure to appear. See JSR Micro, Inc. v. QBE Ins. Corp, 2010 U.S. Dist. LEXIS

   6 56000 (awarding sanctions under Rule 37(a)(5)(A) for unprepared 30(b)(6)

   7
       witness); Black Horse Lane Assocs., L.P. v. Dow Chem. Corp., 228 F.3d 275, 304
   8
   9 (3d Cir. 2000) (affirming monetary sanctions because “if a Rule 30(b)(6) witness is

  10 unable to give useful information, he is no more present for the deposition than

  11
       would be a deponent who physically appears for the deposition but sleeps through
  12

  13 it”); Resolution Trust Corp. v. S. Union Co., 985 F.2d 196, 197,198 (5th Cir. 1993)

  14 (same); Great Am. Ins. Co. of N. Y. v. Vegas Constr. Co., Inc., 251 F.R.D. 534, 543

  15
       (D. Nev. 2008) (same).
  16

  17          Here, this is little doubt that an award of reasonable expenses is warranted.
  18 Plaintiff’s counsel spent dozens of hours preparing for the depositions of

  19
       Defendant’s 30(b)(6) witnesses and incurred expenses flying from New York to
  20

  21 Utah in order to conduct said depositions. As demonstrated above, Defendant’s

  22 witnesses were utterly unprepared to answer basic questions on topics for which

  23
       they were designated, especially Ms. Ranallo, who relied entirely on a binder of
  24

  25 documents provided by Younique’s counsel, and still could not testify regarding the

  26 ingredients and labels for the product. Defendant cannot offer any justification, let

  27
       alone substantial one, for its failure to produce
                                                   -8-
                                                         knowledgeable and prepared 30(b)(6)
  28
            PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                             SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 9 of 10 Page ID #:506




   1
       witnesses for deposition, and thus Rule 37 sanctions are warranted. See Avago

   2 Techs., Inc. v. IPtronics Inc., No. 5:10-cv-02863-EJD 2015 U.S. Dist. LEXIS 66177

   3
       * 10-16 (N.D. Cal. May 19, 2015) (sanctioning company for costs and fees for
   4

   5 producing a 30(b)(6) witness who could not speak about 9 of 24 designated topics).

   6

   7
       III.    PLAINTIFFS PROVIDED NOTICE OF THE SUBJECT EX PARTE
   8           APPLICATION
   9           On July 27, 2018, as a result of Ms. Ranallo’s unpreparedness, Plaintiffs’
  10 suspended the deposition pending Younique producing a witness who could answer

  11 the questions posed to Ms. Ranallo. (Ranallo Tr. at 57). Younique’s counsel took

  12 the position that Ms. Ranallo was not unprepared and that Younique would not

  13 produce any additional 30(b)(6) witnesses.

  14

  15           For the reasons above, Plaintiffs request that the proposed stay be granted,
  16 well as the requested sanction against Younique and/or its counsel.

  17
        Dated: July 30, 2018                 NYE, PEABODY, STIRLING, HALE &
  18                                         MILLER, LLP
  19                                         By: /s/
                                                 Jonathan D. Miller, Esq.
  20                                             Alison M. Bernal, Esq.
  21 [Signatures continued on following page.]

  22

  23    Dated: July 30, 2018                 CARLSON LYNCH SWEET
                                             KILPELA & CARPENTER, LLP
  24
                                             By: /s/
  25                                             Ed Kilpela, Esq.
  26

  27    Dated: July 30, 2018                 THE SULTZER LAW GROUP P.C.
  28                                              -9-
              PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                               SANCTIONS
Case 8:17-cv-01397-JVS-JDE Document 73 Filed 07/30/18 Page 10 of 10 Page ID #:507



                                          By: /s/
    1                                         Adam Gonnelli, Esq.
    2

    3

    4   Dated: July 30, 2018              WALSH, PLLC
    5
                                          By: /s/
    6                                         Bonner Walsh, Esq.
    7
                                          Attorneys for Plaintiffs and the Class
    8
    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28                                         -10-
           PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND MOTION FOR DISCOVERY
                                            SANCTIONS
